           Case MDL No. 2406 Document 407-1 Filed 01/26/18 Page 1 of 3




                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

IN RE: BLUE CROSS BLUE SHIELD                               MDL No. 2406
ANTITRUST LITIGATION

                                   CERTIFICATE OF SERVICE

       I certify that on January 26, 2018, the foregoing was electronically filed with the Clerk of

Court using the CM/ECF system which will send notification of such filing to all counsel of

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          Case MDL No. 2406 Document 407-1 Filed 01/26/18 Page 2 of 3




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Case MDL No. 2406 Document 407-1 Filed 01/26/18 Page 3 of 3




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